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10   Interim Co-Lead Class Counsel

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13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14                                SAN FRANCISCO DIVISION
15     Aberin et al. v. American Honda Motor Co., Inc.
16
                                                         Case No. 3:16-cv-04384-JST
17
                                                         NOTICE OF VOLUNTARY
18
                                                         DISMISSAL OF PLAINTIFF
19                                                       MARK GERSTLE

20                                                       Complaint Filed: August 3, 2016
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      Case 3:16-cv-04384-JST Document 126 Filed 12/13/17 Page 2 of 3


 1          TO THE COURT, DEFENDANT AMERICAN HONDA MOTOR CO., INC. AND
 2   COUNSEL OF RECORD:
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            PLEASE TAKE NOTICE that Plaintiff Mark Gerstle hereby voluntarily dismisses his
 4
     claims against Defendant American Honda Motor Co., Inc., without prejudice, under Rule
 5
     41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. Defendant American Honda Motor Co.,
 6
     Inc. has neither filed an answer, nor moved for summary judgment, and a class has not yet been
 7
     certified. Therefore, Plaintiff Gerstle’s claims may be dismissed without prejudice, and without a
 8
     court order.
 9
     DATED: December 13, 2017.                           SEEGER WEISS LLP
10
                                                  By:     /s/Christopher A. Seeger_____
11                                                       Christopher A. Seeger (pro hac vice)
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              NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF MARK GERSTLE
                              CASE NO. 3:16-CV-04384-JST
      Case 3:16-cv-04384-JST Document 126 Filed 12/13/17 Page 3 of 3


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 2
                                     CERTIFICATE OF SERVICE
 3

 4          I, Christopher A. Seeger, hereby certify that on December 13, 2017, I caused true and

 5   correct copies of the foregoing to be served, pursuant to this Court’s electronic filing procedures,

 6   via the ECF system.

 7   DATED this 13th day of December, 2017.
                                                                  SEEGER WEISS LLP
 8
                                                                  By: /s/ Christopher A. Seeger_____
 9                                                                Christopher A. Seeger (pro hac vice)
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                                                                  Attorneys for Plaintiffs
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              NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF MARK GERSTLE
                              CASE NO. 3:16-CV-04384-JST
